                       Case 3:05-cr-00024-WTM-BKE Document 246 Filed 05/18/15 Page 1 of 1
A0247(10/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U. S.C. § 3582(c)(2)                               Page 1 of (Page 2 Not for Public Disclosure)



                                                               UNITED STATES DISTRICT COURT
                                                                               for the
                                                                     Southern District of Georgia
                                                                          Dublin Division

                        United States of America                                        )
                                         V.                                             )
                                                                                           Case No: 3:05-CR-00024-1
                                 Mike Adams                                             )



                                                                                        ) USMNo: 12622-021
Date of Original Judgment:        October 24, 2008                                      ) Hale Almand, Jr.
Date of Previous Amended Judgment: November 16, 2009                                    ) Defendant's Attorney
(Use Date of Last ,fsncndediudgnten:, fany


                                          Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


        Upon motion of         the defendant F1 the Director of the Bureau of Prisons 7
                                     fl                                                    X the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § 181.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED.XnGRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last judgment
              issued) of 215 months is reduced to                         170 months


                                                    (Complete Parts I and!! of Page 2 when motion is granted)


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Except as otherwise provided above, all provisions of the judgment dated October 24, 2008,                             shall remain in effect.
IT IS SO ORDERED.
                                                                                                      000
Order Date:
                                                                                                              Judge's signal


                                                                                            William T. Moore, Jr.
                                                                                            Judge, U.S. District Court
Effective Date: November 1, 2015                                                            Southern District of Georgia
                 (if dfferen front order date)                                                               Printed name and title
